                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                               February 12, 2015
                              No. 10-14-00190-CR
                             EDWARD S. HODGES, III
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                        From the 361[st] District Court
                             Brazos County, Texas
                            Trial Court No. 13,002
                                       
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JUDGMENT

	This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issues raised and finds no reversible error is presented.  Accordingly the trial court's order denying DNA testing, signed on May 28, 2014, is affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM

							SHARRI ROESSLER, CLERK

						By:    Nita Whitener			
							Deputy Clerk

